 Case: 4:24-cv-00636-RWS            Doc. #: 73 Filed: 02/20/25           Page: 1 of 1 PageID #:
                                             1556
                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                            No: 24-2921

                                      State of Arkansas, et al.

                                                       Appellees

                                                  v.

                           United States Department of Education, et al.

                                                       Appellants

                                     ------------------------------

                                      State of California, et al.

                                        Amici on Behalf of Appellant(s)


______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:24-cv-00636-RWS)
______________________________________________________________________________

                                              ORDER

       The unopposed motion to hold this appeal in abeyance to allow the new administration to

review the issues in this appeal is granted in part. Appellants are to provide a status report with

developments in this appeal in 60 days. Status report due on 04/21/2025.



                                                         February 20, 2025




Order Entered Under Rule 27A(a):
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




   Appellate Case: 24-2921          Page: 1       Date Filed: 02/20/2025 Entry ID: 5487464
